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December 19, 2024

Via ECF

The Honorable Robert M. Illman
United States District Court for the Northern District of California
Eureka-McKinleyville Courthouse
3140 Boeing Ave.
McKinleyville, CA 95519

Re:    In re OpenAI ChatGPT Litigation, Master File No. 23-cv-3223-AMO: Unopposed Letter
       Seeking Leave to Attach Exhibits to Parties’ Joint Letter Brief

Dear Honorable Judge Illman:

        Pursuant to Paragraph 4(a) of Your Honor’s General Standing Order, the Parties
anticipate filing a joint letter brief on December 19, 2024 regarding Plaintiffs’ motion to compel
deposition dates and to enter their deposition protocol.
       Plaintiffs hereby request leave to attach the following exhibits to the joint letter:

        A. Correspondence between Plaintiffs’ counsel and OpenAI’s counsel evidencing
           negotiations regarding the deposition protocol are ongoing.

        B. Plaintiffs’ proposed deposition protocol.

         Plaintiffs believe the proposed exhibits will aid the Court’s analysis of the Parties’
 positions. Defendants do not oppose Plaintiffs’ request.



Dated: December 19, 2024                              Respectfully Submitted,

                                                      /s/ Christopher K.L. Young

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